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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No: LA CV 22-08357-DOC-(JEMx)                            Date: September 18, 2023

  Title: Jeffrey Powers, et al. v. Denis Richard McDonough, et al.

 PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

             Karlen Dubon                                    Court Smart
            Courtroom Clerk                                 Court Reporter

       ATTORNEYS PRESENT FOR                             ATTORNEYS PRESENT FOR
               PLAINTIFF:                                        DEFENDANT:
     Roman M. Silberfeld, Tommy H. Du,                Zachary Avallone, Brad P. Rosenberg,
           Mark D. Rosenbaum                           Keith E. Smith, Kristin Grotecloss,
                                                                 Richard Hipolit

  PROCEEDINGS:                 MOTION TO DISMISS CASE FILED BY
                               VETERANS AFFAIRS DEFENDANTS STEVEN
                               BRAVERMAN, KEITH HARRIS, DENIS RICHARD
                               MCDONOUGH [37]

                               MOTION TO DISMISS CASE FILED BY
                               DEFENDANT HUD [49]

                               MOTION TO DISMISS PLAINTIFF'S FIRST
                               AMENDED COMPLAINT [51]

  The case is called. The Court and counsel confer.

  The Court hears arguments. Supplemental briefs are to be filed on or before September 29, 2023.

  Motion to Dismiss Case [37], Motion to Dismiss Case Filed by Defendant HUD [49], and
  Motion to Dismiss Plaintiff's First Amended Complaint [51] are taken under submission.


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                                                                     Initials of Deputy Clerk: kdu
